Case 2:23-cv-07593-HDV-KS Document 44-1 Filed 04/11/24 Page 1 of 2 Page ID #:1364




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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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   10 ROBERT HUNTER BIDEN                           Case No.: 2:23-cv-07593-HVD-KS
   11               Plaintiff(s)                    To Be Heard By The Honorable Monica
                                                    Ramirez Almadani
   12        v.
                                                    [PROPOSED] ORDER
   13 GARRETT ZIEGLER, an individual;               REGARDING OBJECTIONS TO
        ICU, LLC, a Wyoming limited liability       EVIDENCE
   14 company,
                                                    Date: April 25, 2024
   15               Defendant(s)                    Time: 1:30 p.m.
                                                    Crtm.: 10B
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   18
             Having considered Defendants GARRETT ZIEGLER and ICU, LLC’s
   19
        (“Defendants”) objections to evidence, it is HEREBY ORDERED that:
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   21      Material Objected To                        Ruling On Objection
   22   Objection #1                  Sustained:_____________
   23                                 Overruled:_____________
   24   Objection #2                  Sustained:_____________
   25                                 Overruled:_____________
   26   Objection #3                  Sustained:_____________
   27                                 Overruled:_____________
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                                                1
                  [PPROPOSED] ORDER REGARDING OBJECTIONS TO EVIDENCE
Case 2:23-cv-07593-HDV-KS Document 44-1 Filed 04/11/24 Page 2 of 2 Page ID #:1365




    1     Material Objected To                   Ruling On Objection
    2   Objection #4                Sustained:_____________
    3                               Overruled:_____________
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    5        IT IS SO ORDERED.
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    7 DATED: _______________, 2024
                                         _____________________________________
    8                                    HON. MONICA RAMIREZ ALMADANI
    9                                    UNITED STATES DISTRICT JUDGE

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                 [PPROPOSED] ORDER REGARDING OBJECTIONS TO EVIDENCE
